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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            Case No.: 0:19cv61140

 BLAKE TURIZO,
 individually and on behalf of all
 others similarly situated,                                     CLASS ACTION

         Plaintiff,                                             JURY TRIAL DEMANDED

 v.

 JIFFY LUBE INTERNATIONAL,
 INC., a Delaware corporation,

         Defendant.
                                                   /

                                  CLASS ACTION COMPLAINT

         Plaintiff, BLAKE TURIZO, brings this class action against Defendant, JIFFY LUBE

 INTERNATIONAL, INC. (“JIFFY LUBE” or “Defendant”), and alleges as follows upon personal

 knowledge as to himself and his own acts and experiences, and, as to all other matters, upon

 information and belief, including investigation conducted by his attorneys.

                                     NATURE OF THE ACTION

         1.      This is a putative class action under the Telephone Consumer Protection Act, 47 U.S.C.

 § 227, et seq. (“TCPA”).

         2.      Defendant operates over 2000 automobile service across the United States.

         3.      As part of its business practices, Defendant would often send text messages to

 individuals without their prior consent.

         4.      These messages were sent using mass-automated technology through a third-party

 company hired by Defendant to send text messages on Defendant’s behalf en masse.

         5.      In sum, Defendant knowingly and willfully violated the TCPA, causing injuries to
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 Plaintiff and members of the putative class, including invasion of their privacy, aggravation, annoyance,

 intrusion on seclusion, trespass, and conversion.

         6.      Through this putative class action, Plaintiff seeks injunctive relief to halt Defendant’s

 illegal conduct. Plaintiff also seeks statutory damages on behalf of himself and members of the class,

 and any other available legal or equitable remedies resulting from the illegal actions of Defendant.

                                    JURISDICTION AND VENUE

         7.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

 statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national

 class, which will result in at least one Class member belonging to a different state than Defendant.

 Plaintiff seeks up to $1,500.00 in damages for each call (text message) in violation of the TCPA, which,

 when aggregated among a proposed class numbering in the thousands, or more, exceeds the

 $5,000,000.00 threshold for federal court jurisdiction under the Class Action Fairness Act (“CAFA”).

         8.      Venue is proper in the United States District Court for the Southern District of Florida

 pursuant to 28 U.S.C. §§ 1391(b) and (c) because Defendant is deemed to reside in any judicial district in

 which they are subject to the court’s personal jurisdiction, and because Defendant provide and market

 their services within this district thereby establishing sufficient contacts to subject them to personal

 jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within this district and, on

 information and belief, Defendant has sent the same text message complained of by Plaintiff to other

 individuals within this judicial district, subjecting Defendant to jurisdiction here.

                                                 PARTIES

         9.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

 Broward County, Florida.

         10.     Defendant is a Delaware corporation with a principal office located at 150 N. Dairy


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 Ashford, Houston Texas, 77079.

                                              THE TCPA

         11.     The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

 an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

 227(b)(1)(A).

         12.     The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

 that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

 sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

         13.     The TCPA exists to prevent communications like the ones described within this

 Complaint. Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

         14.     In an action under the TCPA, a plaintiff must show only that the defendant “called a

 number assigned to a cellular telephone service using an automatic dialing system or prerecorded

 voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

 F.3d 1265 (11th Cir. 2014).

         15.     The Federal Communications Commission (“FCC”) is empowered to issue rules and

 regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

 are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

 nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

 inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

 they pay in advance or after the minutes are used.

         16.     In order to legally send a text message to an individual, a defendant must demonstrate

 that it obtained the plaintiff’s prior express consent. In the Matter of Rules & Regulations Implementing

 the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

 “for non-telemarketing and non-advertising calls”).
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                                       BACKGROUND FACTS

         17.     Defendant operates over 2000 vehicle service centers all across the United States.

         18.     As part of its business practices, Defendant would uniformly send text messages to

 hundreds, if not thousands, of consumers. Upon information and belief, Defendant has sent at least ten

 thousand illegal text messages over the last four years preceding this lawsuit

         19.     Plaintiff himself was sent at least two text messages without his express consent.

         20.     Below is a depiction of actual text messages received by Plaintiff from Defendant:




         21.     Plaintiff received the subject text messages within this judicial district and, therefore,

 Defendant’s violation of the TCPA occurred within this district. Upon information and belief,

 Defendant caused other text messages to be sent to individuals residing within this judicial district.

         22.     At no point in time did Plaintiff provide Defendant with his express consent to be

 contacted.

         23.     Plaintiff is the subscriber and sole user of the ***-***-9685 phone number.

         24.     The impersonal and generic nature of Defendant’s text messages, demonstrates that
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 Defendant utilized an ATDS in transmitting the messages. See Jenkins v. LL Atlanta, LLC, No. 1:14-

 cv-2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016) (“These assertions,

 combined with the generic, impersonal nature of the text message advertisements and the use of a short

 code, support an inference that the text messages were sent using an ATDS.”) (citing Legg v. Voice

 Media Grp., Inc., 20 F. Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient to infer

 text messages were sent using ATDS; use of a short code and volume of mass messaging alleged would

 be impractical without use of an ATDS); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171 (N.D.

 Cal. 2010) (finding it “plausible” that defendants used an ATDS where messages were advertisements

 written in an impersonal manner and sent from short code); Robbins v. Coca-Cola Co., No. 13-CV-132-

 IEG NLS, 2013 U.S. Dist. LEXIS 72725, 2013 WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing

 that mass messaging would be impracticable without use of an ATDS)).

         25.     Specifically, upon information and belief, Defendant, through their direction, utilized a

 combination of hardware and software systems to send the text messages at issue in this case. The

 systems utilized by Defendant have the current capacity or present ability to generate or store random or

 sequential numbers or to dial sequentially or randomly at the time the call is made, and to dial such

 numbers, en masse, in an automated fashion without human intervention.

         26.     Defendant’s unsolicited text messages caused Plaintiff actual harm, including invasion

 of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s

 text messages also inconvenienced Plaintiff and caused disruption to his daily life. See Patriotic

 Veterans, Inc. v. Zoeller, No. 16-2059, 2017 WL 25482, at *2 (7th Cir. Jan. 3, 2017) (“Every call uses

 some of the phone owner’s time and mental energy, both of which are precious.”). Plaintiff received the

 subject text message while he was at work, causing him to stop his work activities to check his phone.




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                                          CLASS ALLEGATIONS
               PROPOSED CLASS

         27.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

 himself and all others similarly situated.

         28.     Plaintiff brings this case on behalf of a Class defined as follows:

                 All persons within the United States who, within the four years
                 prior to the filing of this Complaint, received text message made
                 through the use of any automatic telephone dialing system, from
                 Defendant or anyone on Defendant’s behalf, to said person’s
                 cellular telephone number, not for emergency purpose and
                 without the recipient’s prior express consent.

         29.     Defendant and their employees or agents, Plaintiff’s attorneys and their employees, the

 Judge to whom this action is assigned and any member of the Judge’s staff and immediate family, and

 claims for personal injury, wrongful death, and/or emotional distress are excluded from the Class.

 Plaintiff does not know the number of members in the Class, but believes the Class members number

 in the several thousands, if not more.

            NUMEROSITY

         30.     Upon information and belief, Defendant has placed automated calls to cellular telephone

 numbers belonging to thousands of consumers throughout the United States without their prior express

 consent. The members of the Class, therefore, are believed to be so numerous that joinder of all members

 is impracticable.

         31.     The exact number and identities of the Class members are unknown at this time and can

 be ascertained only through discovery. Identification of the Class members is a matter capable of

 ministerial determination from Defendant’s callrecords.




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               COMMON QUESTIONS OF LAW AND FACT

         32.     There are numerous questions of law and fact common to the Class which predominate

 over any questions affecting only individual members of the Class. Among the questions of law and

 fact common to the Class are:

                      (1) Whether Defendant made non-emergency calls to Plaintiff’s and Class

                          members’ cellular telephones using an ATDS;

                      (2) Whether Defendant can meet their burden of showing that they obtained prior

                          express consent to make such calls;

                      (3) Whether Defendant conduct was knowing and willful;

                      (4) Whether Defendant are liable for damages, and the amount of such damages;

                          and

                      (5) Whether Defendant should be enjoined from such conduct in the future.

         33.     The common questions in this case are capable of having common answers. If Plaintiff’s

 claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

 telephone services is accurate, Plaintiffs and the Class members will have identical claims capable of

 being efficiently adjudicated and administered in this case.

               TYPICALITY

         34.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

 on the same factual and legal theories.

               PROTECTING THE INTERESTS OF THE CLASS MEMBERS

         35.     Plaintiff is a representative who will fully and adequately assert and protect the interests

 of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

 and will fairly and adequately protect the interests of the Class.

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                SUPERIORITY

          36.       A class action is superior to all other available methods for the fair and efficient

 adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

 economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

 Class are in the millions of dollars, the individual damages incurred by each member of the Class

 resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

 lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

 and, even if every member of the Class could afford individual litigation, the court system would be

 unduly burdened by individual litigation of such cases.

          37.       The prosecution of separate actions by members of the Class would create a risk of

 establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

 one court might enjoin Defendant from performing the challenged acts, whereas another may not. Additionally,

 individual actions may be dispositive of the interests of the Class, although certain class members are not parties

 to such actions.

                                                 COUNT I
                                Violation of the TCPA, 47 U.S.C. § 227(b)
                                  (On Behalf of Plaintiff and the Class)

          38.       Plaintiff re-alleges and incorporates paragraphs 1-37 as if fully set forth herein.

          39.       It is a violation of the TCPA to make “any call (other than a call made for

 emergency purposes or made with the prior express consent of the called party) using any

 automatic telephone dialing system . . . to any telephone number assigned to a … cellular telephone

 service ….” 47 U.S.C. § 227(b)(1)(A)(iii).

          40.       “Automatic telephone dialing system” refers to any equipment that has the

 “capacity to dial numbers without human intervention.” See, e.g., Hicks v. Client Servs., Inc., No.

 07-61822, 2009 WL 2365637, at *4 (S.D. Fla. June 9, 2009) (citing FCC, In re: Rules and

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 Regulations Implementing the Telephone Consumer Protection Act of 1991: Request of ACA

 International for Clarification and Declaratory Ruling, 07–232, ¶ 12, n.23 (2007)).

        41.     Defendant – or third parties directed by Defendant– used equipment having the

 capacity to dial numbers without human intervention to make telephone calls to the cellular

 telephones of Plaintiff and the other members of the Class defined above.

        42.     These calls were made without regard to whether Defendant had first obtained

 express consent to make such calls. In fact, Defendant did not have prior express consent to call

 the cell phones of Plaintiff and Class Members when the subject calls were made.

        43.     Defendant therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an

 automatic telephone dialing system to make telephone calls to the cell phones of Plaintiff and Class

 Members without their prior express consent.

        44.     All possible Defendants are directly, jointly, or vicariously liable for each such

 violation of the TCPA.

        45.     As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,

 Plaintiff and the other members of the putative Class were harmed and are each entitled to a

 minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

 injunction against future calls.

                                         COUNT II
               Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
                           (On Behalf of Plaintiff and the Class)

        46.     Plaintiff re-alleges and incorporates paragraphs 1-37 as if fully set forth herein.

        47.     At all times relevant, Defendant knew or should have known that their conduct as

 alleged herein violated the TCPA.

        48.     Defendant knew that they did not have prior express consent to send these text

 messages.
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         49.     Because Defendant knew or should have known that Plaintiff and Class Members

  had not given prior express consent to receive its autodialed calls to their cellular telephones, the

  Court should treble the amount of statutory damages available to Plaintiff and the other members

  of the putative Class pursuant to § 227(b)(3) of the TCPA.

         50.     All possible Defendants are directly, jointly, or vicariously liable for each such

  violation of the TCPA.

         51.     As a result of Defendant violations, Plaintiff and the Class Members are entitled to

  an award of $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.

  § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

         WHEREFORE, Plaintiff, BLAKE TURIZO, on behalf of herself and the other members

  of the Class, prays for the following relief:

         a.      A declaration that Defendant practices described herein violate the Telephone

  Consumer Protection Act, 47 U.S.C. § 227;

         b.      A declaration that Defendant violations of the Telephone Consumer Protection Act,

  47 U.S.C. § 227, were willful and knowing;

         c.      An injunction prohibiting Defendant from using an automatic telephone dialing

  system to call and text message telephone numbers assigned to cellular telephones without the

  prior express consent of the called party;

         d.      An award of actual, statutory damages, and/or trebled statutory damages; and

         e.      Such further and other relief the Court deems reasonable and just.

                                           JURY DEMAND

           Plaintiff and Class Members hereby demand a trial by jury.




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  Date: May 5, 2019

  Respectfully submitted,

                                   By: /s/ Jibrael S. Hindi
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